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United States District Court

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AO91 (Rev. 12/03) Criminal Complaint Fe | uY) Ly AUSA m y mt) exes

UNITED STATES DISTRICT COURT —ay.7 2919

 

 

 

Southern District Of Texas Brownsville Division David J. Bradley, Clerk of Court
UNITED STATES OF rae CRIMINAL COMPLAINT
vs.
a - B-19- "y -
- Joseph Alexander ROSAS re Case Number: B-19- | W 40

A201 417 537 United Sta
Jesus LOZANO 4S ee
A201 417 538 United Siates

I, the undersigned complainant state that the following is true and correct to the best of my

knowledge and belief. On or about January 15, 2019 in Kenedy County, in
the Southern District Of Texas defendant(s)

 

conspired, knowingly, willfully, and in reckless disregard of the fact that an undocumented alien had entered the United States in
violation of law and remained in the United States in violation of law, did transport and move said alien by means of a motor
vehicle with intent to further his unlawful presence,

 

in violation of Title 8 United States Code, Section(s) 1324(a)(1)(A)Gi);_1324(a)()(A)(v))
I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts:

On January 15, 2019, Agents assigned to the Harlingen, TX Border Patrol Station conducted a vehicle stop on a 2003 Honda
Pilot displaying Texas license plates near Norias, TX. The Honda Pilot initially appeared to speed away from Agents and drive
erratically, however, the vehicle did pull over. Agents approached the vehicle and identified themselves as Border Patrol Agents.
Inside the vehicle, Agents encountered 3 subjects. The driver was identified as Joseph Alexander ROSAS, a U:S. Citizen. The
rear passenger was identified as Jesus LOZANO, also a U.S. Citizen. Finally, the front passenger was identified as Carlos
Ortega, a Mexican national without the proper documents to enter or remain in the United States. All subjects were placed under
arrest and transported to the Harlingen Station for processing and further case development.

Once at the Harlingen Station, Agents initiated a smuggling investigation. Agents discovered through self-admission and
testimony provided by one individual subject serving as a Material Witness, that ROSAS and LOZANO were transporting an
undocumented alien for personal gain.

Continued on the attached sheet and made a part of this complaint: [_] Yes IX] No

 

Signature of Com; /

Torres, Juan Border Patrol Agent

 

 

 

Sworn to before me and signed in my presence, Printed Name of Complainant
January 17, 2019 at Brownsville, Texas
Date City/S

Name of Judge Title of Judge . Signature of Ji udge/

Ronald G. Morgan U.S. Magistrate Judge IL Li _
